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FoR THE WESTERN DISTRICT oF TENWM[§ PH 3: 23 05 AUG 15 pH

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COURTNEY MONTEZ MEANS,
Plaintiff,
vs. Civ. No. 03-2352-M1[P

SHELBY COUNTY, et al.,

Defendants.

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ORDER SETTING HEARING ON PLAINTIFF'S MOTION TO COMPEL AND
DIRECTING PARTIES TO ENGAGE IN FACE-TO-FACE CONSULTATION PRIOR TO
HEARING DATE

 

Before the court is plaintiff's motion to compel, filed June
24, 2005. This motion is set for a hearing on Thursdayy August 25,
2005, at 3:00 p.m. in Courtroom 6, Clifford Davis Federal Building,
Memphis, TN. Counsel who wish to be heard on the motion must
appear.

Although counsel for the parties consulted prior to the filing
cf the motion, as set forth in the plaintiff's certificate of
consultation, the court hereby orders that counsel engage in a
face-to-face meeting prior to August 25 hearing to further consult
on issues raised in plaintiff's motion and addressed in defendant's

response.

Th!s document entered on the docket sheet fn compliance

with Hule 55 and/or 79(a) FRCP on 59 [{’£ ‘§5

 

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TUM.PHAM' '
United States Magistrate Judge

IT IS SO ORDERED.

 

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 128 in
case 2:03-CV-023 52 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Courtney Montez Means
SCJ-MEMPHIS

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Honorable .1 nn McCalla
US DISTRICT COURT

